lN THE CIRCU!`F COUR¥ FOR HICKMAN CGUNTY, T§NNESS§E¢... .
AT CENTERVILLE .

SH|RLEY YOUNGER, individually
end on behalf of DAVED YOUNGER,
deceased

 

Pl@;mrrr, _/ - » _
Dockemo.: 7 §§ ,v/ §§

)
)
)
l
)
)
vs. )
) Jury Demand (6)
CANDELAREO CAST|LLO and SP|R!T, )
TRUCK LINES, ENC., )
)
Defenaanls. )
)
CGMPLA!NT
Cernes new Plalnfilf, Sblriey Yaunger, §ncl§vlaually; ana en behalf al
ber husband Davld Yaenger, aeceesea,' by end inraegn Caansel, ana
hereby files lnis Cambiainl against Defenaanls Cerzaeiaria Ceslrlle ana
Sb§rll Trucl< Lines, §nc., (collec:lively referred la es “Defenc:fanls”) far cause af
ac’r§arz Weale snow lne Caun as feliaws:
PAR`§IES
l. ?be basis er lnis EaWSUl’r ames from lbe Wrenglul end breverzleble cleaer
af PEainlifl-Deceaenr Davla Yeunger, deceased Wl'\en he Was kilfeci in
<:r vialen’r Ce§lisian an Abril 28, 20¥6, er ?he age af sixTy~fl\/e (65}. DO\/ia
Yaunger lefl behind a family, Canslsllng er W§le, Plelnllfr Snir§ey Yeunger,
’rWe children ana four grandchildren
2. Plelnllff Shrrley Yaunger ls a cl’rizen ana residenl el lne Slale al

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iennessee. Piainiill Sinirley Yaenger had been married la David Yaunger
ier aver farly-lnree (43) years el ine lime Oi nis dealh an Abrii 28, 20l 6.

3. De§endani Candeiaria Cesiilie is believed la be a ciiizen end zesidenl
af ine Siale el lexas Wilb a resideniiai address er 835 Denver Slreel,
Edinbergn, TX 7854l.

4. Sbirii Tn)cl< i.ines, inc,, (bereinafier referred la as “Spirii Tn)ci<”) is a foreign
carboraiien having a principdl afiice locaied el 200 W. l\loiana, P.O. Bax
8?', San vlearn l'>< 78589, and Was ihe ewner, eberaiar, end/ar dispatcher
er line 20i 4 l<enwarin lraciar lrailer being driven by Deiendani
Candeieria an Abril 28, 20l é. Spirii Tn)cl< cen be served inraugn ils egenl
far service el pracess, Raei Gdrza, 2l2 l\l. Rdai Langaria & i/S mile an
Eariing, San Juan, ?X ?8589 and 200 Neland Laab, San lean, TX 78589-

\/ENUE & JURlSD§CTlOl\i

5. Praper venue for this aciian lies in E-licl<man Ceuniy, lennessee pursuani
la lenn. Cade Ann § 20¢4»i01»l02 because line evenis giving rise ia inis
Carnbleinl eccerred in i~licl<men Cauniv, Tennessee.

RELEVANT FAC?S Gi\/li\iG RESE `iO COMPLAIN?

6. Ai abbre><irnaiely 9:2l a.m. en line morning an Abrii 28, QOl é, Deiendani

Casiilia sirecl< end killed-David Yaenger in lne Wesibeund lanes af i-¢SO.

7. Devid Yeunger Was e iennessee Deban‘n':eni of irensbarlalien

{nereinefier “TDOT") Obez'ailans Tecinnic§an 3.

8. David Yeenger ned been Wari<ing an a TDOT vehicle inal had been

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pulled lo lhe righi shoulder of l-40.
9. in ioiai, ihere Were ihree TDOT highlide moinienance vehicles on Jrhe
righi shoulder of i-40.
l0. Edch oi ihe lhree TDOT highway mdlnienonce vehicles had worning
signals aciivaied on ihe righl shoulder of i-¢O by use or aulhorized lldshing
lighis.
ii. Deienddni Casiiilo idiled lo observe ihe signols from ihe ou’rhorized
iidshing lighis.
l2. Deienddni Cdsiillo failed lo proceed Wiih due cauiion and/or yield ihe
righi»oi~Wcry
i3. Delenddni Cdsiii|o failed lo rncil<e d lone change inio a idne nol
adioceni lo ihe highway rnainienance vehicles
i4. Deienddni Cosiiilo swerved our of his lane of lrovei, crossed ihe while
line inlo ihe righi shoulder, struck a TDOi vehicle ond ihen sirucl< bhd killed
deid Younger.
i5. Defendonl Cdsliilo vvas an employee end agent of Sbirii irucl< l.ines end
wos driving a irocior iroiler owned by Derendonl Sbiril Truci<.
lé. Aulhoriiies deiermined David rounger died ai ihe scene of lhe collision
dilhough ihe exdci iirne of his’s dealh nos nol been delern'rined.

- Defendonl C_aslilio -
i?. Pldinlifis herein incorporaie Pardgrobhs i-ié of the Cornbldini by
reference end os ii sbecificoiiv plead

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l8.

Nealiaence of Defendanl Casrillo

Deiendani Casiiilo Was negligeni in lhe following Ways:

lGl

ibi

Casiillo failed lo keep a proper lookoui ahead;

Caslillo failed lo avoid a collision when in ihe exercise of
reasonable care he could have done so;

Casiillo operaied ihe vehicle wiih a compleie disregard for ihe
saieiv of users of ihe roadway, including Plainliil“decedeni,
David Younger;

Caslillo Was lravelling ai a high rare of speed in excess al ihe
posied limiis and in respecl io ihe road condiiions in exislence
ai lhe lime and place of ihe collision;

Casiiilo failed io inspecl and invesligaie ihe lruci<’s
mechanical condiiion, Which caused or conlribuled io losing
conlrol of ihe vehicle;

Casiillo Was driving in a manner lhal demonslraled wanion
and reckless disregard for lhe safely or olhers, including lhe
Flainiiii-decedeni, David Younger;

Casiillo failed lo ial=;e aclion necessary ihai Was apparenl, or
in the exercise or reasonable and ordinary care Would have
been apparenl, lhal a collision Wos aboui lo occur;

Casiillo failed lo mainrain his vehicle in lhe proper lane vvhen
he lefl his lane or lravel and crossed inio ihe emergency lane.

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Per Se Negligence

i?. Deiendanl Caslillo Was linen and lhere guiliy of negligence per se in
lhai he violaled one or more of lhe slaiuies and ordinances includingl bul
nol lirniied, la ihe lollovving:
(A) ienn. Code Ann. § 55-8-132. Emergency vehicles; right of wav;
penally. _ “(c) Upon approaching a siaiionary recovery vehicle
highway mainlenance vehicle, solid Wasle vehicle or ulilily service
vehicle when ihe vehicle is giving a signal by use of auihorized
llashing lighis, a person vvho drives an approaching vehicle shail:
ll) Proceeding vvilh due cauiion, yield ihe righl»oi*vvoy by rrral<ing a
lane change in’ro a lane nol adlacenl lo lhe slalionary recovery
vehicle, highway mainlenance vehicle, solid vvasle vehicle, or ulilily
service vehicle ii possible vvilh due regard lo solely and lrallic
condiiions, il on a highway having al leasl four (4) lanes vvilh nol less
lhan lvvo (2) lanes proceeding in lhe same direciion as lhe
approaching vehicle; or
(2} Proceeding wilh due caulion, reduce lhe speed oi lhe vehicle,
rnainiaining a sale speed for road condilions, il changing lanes
vvould be impossible or unsale. .
(B) lenn. Code Ann. § 55»8-l23. 'i'raffic i.anes. ~ "A vehicle shall be
driven as nearly as praciicable eniirely vviihin a single lane and shall
nol be moved lrorn lhal lane uniil lhe driver has iirsl ascerlained lhal

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lhe movemenl can be made vvi’rh saleiy;"

{C] lenn. Code Ann. § 555-l 0*205. Recl<less Driving. » “Any person vvho
drives any vehicle in Willful or vvanlon disregard for ihe safely of
persons or properly comrnils reckless driving;"

(D) ienn. Code Ann. § 55-8-l36. Due Care. - “lE]very driver al a
vehicle shall exercise due care by operallng Jrhe vehicle al a sale
speed, by mainlaining a sale lookout by keeping lhe vehicle under
proper conlrol and by devoling full lime and allenlion la operaling
lhe vehicle, under ihe exisling circumslances as necessary in order
lo be able lo see and ia avoid endangering liie, limb or properly and
lo see and avoid colliding wilh any olher vehicle . .

(El Negligenl andfor Reckless l~lornicide under ienn. Code Ann. § 39-
li-302. Delinilions “(c) ‘Reckless’ refers lo a person vvho acls
recklessly wilh respecl la circumslances surrounding lhe conducl or
ihe resuli of lhe conduci vvhen lhe person is aware of bur consciously
disregards a subsianlial and uniusliiiable risk lhai lhe circumslances
exisl or lhe resull vvill occur. The risk rnusl be al such a nalure and
degree lhai ils disregard consiiiuies a gross deviaiion irorn lhe
slandard of care lhal an ordinary person vvould exercise under all
lhe circumslances as viewed from fhe accused person’s siandpoinl.
(d) ‘Crirninal negligence refers lo a person vvho acls Wilh crirninal
negligence wilh respeci lo ihe circurnsfances surrounding fhal

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person‘s conducl or lhe resell of lhal conducl vvhen lhe person
oughl ia be aware of a subslanlial and uniusliliable risk lhal lhe
circurnslances exisl or lhe resull vvill occur. The risk rnusl be al such a
nolure and degree lhal lhe failure la perceive il conslilules a gross
devialian irorn lhe slandard of care lhal an ordinary person would
exercise under all lhe circumslances as viewed lrorn lhe accused
persons slandpoinl.“
;_Defenclanl Spiril lruck -
20. Plainlills herein incorporale Paragraphs l-i? ol lhe Cornplainl by
reference and as il specifically plead
Per Se Nealiaence and Nealiaence of Delendanl Caslillo is
lmbuled la Defendanl Spiril Truck
2l. Al lhe lirne and place of lhe coilision, Delendanl Caslillo vvas an
employee and ageni al and acling on belnalrc of and in lhe course and
scope ol his ernpioyrnenl wilh Deiendanl Spirii iruck, vvho vvas lhe
regislered owner of lhe lraclor and lrailer involved in lhe collision and said
corporale Delendanl is responsible and vicariously liable and/or liable
under lhe doclrine of respondeal superior lor lhe acls and omissions al
Delendanl Casllilo.
Negligenl Oversighl
22. Prlor lo lhe accidenl described herein Delendanl Spiril Truck vvas
negligenl in failing lo properly screen al hiring, lrain, monilor or discipline

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Delendanl Caslillo in lhe operalion of lhe vehicle as required by
applicable federal molor carrier safely regulalions, lhe lnlersiale
Cornmerce Acl, and lhe regulalions of lhe lennessee Public Safely
Cornmission, lhe lennessee Deparlmenl of Safely, and lhe Tennessee
Deparlmenl of iransporlalion. This negligence vvas a direcl and proximale
cause oi lhe accideni and all resulling iniuriesl including lhe Plainlifls‘
inluries and losses.
CLAllvlS l'-OR ECONOl\/ll€, NON~ECONOMIC AND l°Ul\llTiVE DAMAGES
PURSUANT lO T.C.A. § 29-39»i0¢l
23. Plainlifls herein incorporaie Parographs i-22 of lhe Complainl by
reference and as if specifically plead
- Economic Damages -
24. As a direcl and proximale resull of Defendanls negligence and
negligence per se, David Younger vvas killed As a resull of his dealh
Plainlills have suffered aclual economic damages lor funeral expenses; losl
fulure earning capaciiy; losl fulure value of household Work and domeslic
confribulion; and necessary and reasonable medical cosls incurred irving
lo save David Younger‘s life.
-Non-§conornic Damages -
25, As a direcl and proximale resull of Delendanls negligence
negligence per se, and lheir criminally negligenf and reckless conducl

Plainliffs suffered serious and calaslrophic injuries conscious shocl<,

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conscious frighl, pain and suffering wrongful dealh and olher non-

economic damages in an amounl grealer lhan $l,000,000.00 in

compensalory damages

26. As a direcl and proximale resull of Defendanls negligence

negligence per se, and lheir deliberale and reckless conduci, Plainliff

Shirley Younger suffered and conlinues lo suffer serious and calaslrophic

injuries including loss of consorliurn and companionship Wilh her husband

menial and physical sufferingl slress, sadness, loss of enjoymenl of life, and
incurred damages resuliing from lhe dealh al her husband including lhe
pecuniary value of David Younger's life in an amounl grealer ihan

$l ,000,000.00.

PREMlSES SEEN AND CONSlDERED, Pl.AlNTlFF PRAYS:

a. For proper process and summons fo be issued and served upon all
Defendanis and lhal lhey be required lo appear and answer lhis
Con'rplainl vvilhin lhe lime required by lavv:

b. For a judgmenl award of aclual, compensalory and punilive
damages in an amounl of al leasf Flve lvlillion Dollars {$S,OG0,00Q.GG)
for lhe wrongful and prevenlable dealh of David Younger as sel lorlh

herein in favor of i°lainlifls againsl l)efendanls;

cl. for all cosls lo be laxed lo Delendanls, including preiudgmenl
inleresl and discrelionary cosls;

e. For a lury of six lél fo be empanelled fo hear lhis maller;
f. For such olherfurlher general relief lo Which Plainliffs may be enlilled.
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Respeclfully submilled,

HONEYCUTT, DOYLE & l€lCl-l, Pl_l_C

 

BY:

 

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